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UNITED STATES DISTRICT COURT                   I 1·1   hCTRONICALLYFILED
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SOUTHERN DISTRICT OF NEW YORK                      D\JC #=---+--+--+---
                                                   DATE FILED:
 SIMO HOLDINGS INC.,

           Plaintiff,                        18-cv-5427 (JSR)

      -against-                              MEMORANDUM ORDER

 HONG KONG UCLOUDLINK NETWORK
 TECHNOLOGY LIMITED and
 UCLOUDLINK (AMERICA), LTD.,

           Defendants.
JED S. RAKOFF, U.S.D.J.

     In this patent infringement action, plaintiff SIMO Holdings

Inc. accused defendants Hong Kong uCloudlink Network Technology

Limited and uCloudlink (America), Ltd.        (collectively,

"uCloudlink") of infringing certain claims of SIMO's U.S. Patent

No. 9,736,689 (the "'689 Patent"). The Court granted SIMO

summary judgment as to infringement of claims 8 and 11, see

Summary Judgment Opinion, ECF No. 163, and the parties

subsequently stipulated as to infringement for the remaining

claims, see Stipulation, ECF No. 165. Following trial, the jury

rejected uCloudlink's defense that all asserted claims of the

'689 Patent were anticipated by prior art; awarded compensatory

damages of $2,183,562.40; and found that uCloudlink had

willfully infringed. See Verdict, ECF No. 180.

     Now before the Court is SIMO's application for an increased

damages award pursuant to 35 U.S.C.      §   284, ECF No. 182, as well


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as uCloudlink's opposition, ECF No. 201.1 For the reasons that

follow,    the Court concludes that a modest increase is

appropriate under the circumstances of this case. The ultimate

damages award will therefore be increased by 30 percent.

     Upon a     finding of     infringement,         a court "may" award up to

treble    damages.    35   U.S.C.    §   284.    This      increase    in   damages    is

"designed as a       'punitive' or 'vindictive'             sanction for egregious

infringement       behavior,"        such       as        willful     or    deliberate

infringement. Halo Electronics,             Inc. v.       Pulse Electroncis,     Inc.,

136 S. Ct. 1923, 1932 (2016). In determining whether an increased

damages award is appropriate, courts often look to a non-exhaustive

list of nine factors from Read Corp. v. Portee, Inc., 970 F.2d 816

(Fed. Cir. 1992), abrogated on other grounds by Markman v. Westview

Instruments, Inc., 517 U.S. 370 (1996)               .2   The parties in this case

spend much of their briefing discussing the Read factors. However,

"the district court is not required to discuss the Read factors,"

Presidio Components,        Inc.    v.   Am.    Technical      Ceramics Corp.,        875




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  SIMO also filed a reply, ECF No. 203, but no reply was authorized by
the Court, see Tr. May 9, 2019, at 713:7-9, nor did SIMO request
permission to file a reply. Because this filing was in violation of the
Court's Individual Rule 2(b), it has not been considered.
2
  Those factors are: (1) whether the infringer deliberately copied; (2)
whether the infringer formed a good faith belief that the patent was
invalid or not infringed; (3) the infringer's behavior in the litigation;
(4) the infringer's size and financial condition; (5) the closeness of
the case; (6) the duration of misconduct; (7) remedial action by the
defendant; (8) defendant's motivation for harm; and (9) whether defendant
attempted to conceal its misconduct. Read, 970 F.2d at 827.

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F.3d 1369, 1382 (Fed. Cir. 2017), and in this case the Court finds

most   of   those       factors     to     be    inapplicable.          Rather,         the      Court's

analysis is guided chiefly by two considerations.

       First, the jury found that uCloudlink willfully infringed the

'689   Patent,     that       is,   "that uCloudlink actually knew of SIMO' s

Patent      and     intentionally               chose       to     infringe           it•   II   Court's

Instructions       of    Law to      the    Jury 20,             ECF No.   184.        That      finding

establishes that this is the kind of "willful," "deliberate," or

"consciously wrongful" behavior for which a punitive sanction may

be justified. Halo, 136 S. Ct. at 1932. Although the Court retains

discretion        not    to     enhance         damages          even   upon      a     finding       of

willfulness, the Court finds it appropriate to do so in this case

as a reprimand for this intentional misconduct.3

       Second, however, and importantly, the scale of the misconduct

is   unclear.      SIMO       insists      that       the    evidence       established             that

uCloudlink copied SIMO's invention. Pl. Mem. 2-7. The Court is not

so certain. Much of the evidence cited is circumstantial or subject

to innocent explanations, and the jury's verdict did not indicate

that   it necessarily found copying.                    Moreover,          while the evidence



3
  uCloudlink argues that there is insufficient evidence to support the
Jury's finding of willfulness. Def. Mem. 3-4. For purposes of the present
motion, the Court accepts the jury's verdict as rendered, but this is
without prejudice to uCloudlink making an appropriate motion for judgment
notwithstanding the verdict on that issue. Should the Court ultimately
determine   that   insufficient   evidence   supports   the   willfulness
determination - an issue on which the Court expresses no opinion at this
time - it will also revisit the issue of enhanced damages.
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did    clearly   establish      serious    misconduct         by     uCloudlink' s        now-

former employee, Wang Bin,            the Court cannot confidently conclude

that    uCloudlink     either    directed       or     profited       from    Wang      Bin's

actions, and the jury's verdict again does not disclose whether it

reached a consensus on this issue. In short, much of the evidence

is    consistent with,    but    does not necessarily imply,                     deliberate

copying.

       Additionally,     the    Court     has     no       reason    to    believe        that

uCloudlink's defenses of non-infringement and invalidity were not

formed in good faith. Although the Court ultimately ruled against

uCloudlink    on   a   number    of     issues,      the    great     majority       of    its

arguments were not frivolous,            and indeed many had some merit. So

while it is true that uCloudlink appears not to have taken any

remedial action in response to this lawsuit,                        see Pl.      Mem.     7-8,

that does    not   say much,      since    for most of          this      case    it had a

colorable defense. Similarly, the Court disagrees with plaintiff's

argument,    see Pl.    Mem.    9-12,    that this case was not close.                     The

Court also disagrees with plaintiff's assertion, see Pl. Mem. 12-

17,    that uCloudlink committed misconduct in the course of this

litigation that merits sanctions. Most of the examples cited by

SIMO are not misconduct, but ordinary                  (if hard-nosed)           litigation

tactics.    And while    uCloudlink did disobey                one    order      from     this

Court, the circumstances suggest to the Court that it was prompted




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by poor decisionmaking in the heat of the moment                            rather than a

deliberate attempt to flout the Court's authority.

        The   Court must,     however,       correct       one misrepresentation by

uCloudlink.       Relying     on    this     Court's       summary    judgment       order,

uCloudlink claims that it "did not receive actual notice of the

'68 9 patent until         after SIMO had filed its initial Complaint."

Def. Mem. 9. But that is seriously misleading. "Actual notice" in

this context is a term of art. It refers, counterintuitively, not

to whether the alleged infringer actually had notice, but whether

the patent holder took specific actions to inform the inf ringer of

the patent.       For this purpose,        "[i]t is irrelevant                     . whether

the defendant knew of the patent or knew of his own infringement."

Amsted Indus. Inc. v. Buckeye Steel Castings Co., 24 F.3d 178, 187

(Fed.     Cir.    1994).    Indeed,     in    its    moving        papers    for     summary

judgment,        uCloudlink        recognized       that     its     own     "independent

knowledge of the '689 patent" would be "insufficient to constitute

actual notice." Def. Mem. Supp. S.J. 24, ECF No.                       119. This Court

agreed, stating that "even if defendants knew they were infringing

the '689 Patent, that could not satisfy the requirement of actual

notice as a matter of law, absent affirmative action by plaintiff."

Summary Judgment Opinion 38.

        The   Court's   determination         that    uCloudlink did not             receive

"actual notice" of the '689 Patent prior to August 2018, then, has

no bearing whatsoever on uCloudlink's knowledge of that patent.

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Yet uCloudlink now seeks to use that                                 favorable      ruling to argue

that,     because         it    did not          receive       "actual notice"          in   the    legal

sense,       it    must        not    have       known       about     the   patent    at    all.       That

argument          is   baseless.            The        actual     evidence         surrounding          when

uCloudlink         learned           of    the    '689        Patent    clearly       suggests      prior

knowledge,         and,     in any event, does not compel the conclusion, as

uCloudlink suggests, that this knowledge was only acquired in the

midst of this litigation.

        In     summary,         because          the     jury    determined         that     uCloudlink

deliberately infringed, the Court finds that enhanced damages are

appropriate.           However,           because       the    evidence      is mixed as           to    the

extent       of    that        misconduct,         SIMO's        proposed      enhancement          of    50

percent is too high. SIMO's motion is therefore granted, but only

to the extent of increasing damages by 30 percent. 4

        The parties are directed to call chambers by no later than

Friday,       June     7,      to    schedule          the    filing    of   any    remaining post-

verdict motions. The Clerk of the Court is directed to close docket

entry 181.

        SO ORDERED.

Dated:            New York, NY

                  June }_, 2019                                        JED S. RAKOFF, U.S.D.J.


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  SIMO has indicated that it will ask the Court to increase the award of
compensatory damages, prior to the increase for willfulness, to account
for a period of infringement not covered by the evidence produced in
discovery. Pl. Mem. 1 n.l. The Court expresses no view on that issue at
this time.
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